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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                             CRIMINAL 10-0412CCC
 1) JOSE A. RODRIGUEZ-LESPIER
 2) ROLANDO NATLA-SABATER
 3) RENE RAMIREZ-ALZAMORA
 4) RUBEN FERNANDEZ-LOPEZ
 5) MANUEL PEREZ-HUERTAS
 6) MAGALI L. FERNANDEZ-LOPEZ
 7) MELISSA MADERA-LABOY
 8) CARLOS D. MARTINEZ-MENDOZA
 9) ERIC C. GONZALEZ-MELENDEZ
 10) WILFREDO LOPEZ-MARTINEZ
 11) CARLOS RIVERA-VELAZQUEZ
 12) CRISTOBAL MUÑOZ-GARCIA
 13) JOSE M. ALBIZU-RIVERA
 14)JUAN M. LOPEZ-COLON
 15) JOSE A. COSME-MALDONADO
 16) RUFINO COLON-PEREZ
 17) MARIA L. COLON-VEGA
 18) EDWIN GARCIA-RIOS
 19) WILLIAM FLORES-LESPIER
 20) RAFAEL IRIZARRY-SANTOS
 21) WILLIAM ROSADO-GUZMAN
 22) NIURKA M. MUÑOZ-GOMEZ
 23) JOSE M. GOMEZ-ZALDO
 24) CARLOS R. RODRIGUEZ-VEGA
 25) SANTOS R. MONTES-MONTALVO
 26) SOTERO GONZALEZ-LOPEZ
 27) FELIX MALDONADO-RIOS
 28) ERIC H. GONZALEZ-CHACON
 29) JOSE J. FELICIANO-RIVERA
 30) JOSE E. LOPEZ-MIRANDA
 31) MELVIN J. OJEDA-VAZQUEZ
 32) JAVIER O. PEREZ-HERNANDEZ
 33) GUSTAVO A. VELEZ-OQUENDO
 34) LORIMAR SANTIAGO-RODRIGUEZ
 Defendants


                                       ORDER

       Having considered the Report and Recommendation filed on August 27, 2012
(docket entry 856) on a Rule 11 proceeding of defendant María L. Colón-Vega (17) held
before U.S. Magistrate Judge Marcos E. López on August 10, 2012, to which no opposition
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has been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that her plea was voluntary and intelligently entered with
awareness of her rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since August 10, 2012.       The sentencing hearing is set for
November 14, 2012 at 4:15 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on September 13, 2012.



                                               S/CARMEN CONSUELO CEREZO
                                               United States District Judge
